    Case 18-55697-lrc         Doc 378      Filed 05/20/21 Entered 05/21/21 14:58:02                    Desc Main
                                           Document     Page 1 of 5




                UNITED STATES BANKRUPTCY COURT OF GEORGIA
                             NORTHERN DISTRICT
                                                                                                 ePu
                                                                                                         eth




               CASSANDRA JOHNSON-LANDRY
               DEBTOR                                                      BRC 8-55697         RC

                                                                )
                                                                )

               SUBMISSION: APPEARED CASE SABOTAGE                              PERTAINING TO
               MISREPRESENTATION OF TITLE



CASSANDRA JOHNSON-LANDRY, Debtor currently submits communication and letter sent by CSC. It

  v cry obvious there is a hidden agenda and Debtor, KNOWS this was not made in error. Debtor is not an

 .tonic' was BAR NUMBER to practice the study of Law. Debtor represents herself as Pro Sc. Ironically

I bior KNOWS exactly why this language if being used such as MISREPRESENTATION. Also, based on

 litvio As phone conversation Debtor was very aware of the conversation being recorded and manipulated

t) fit what appears to be a passive aggressive scenario When an individual acts on his Own behalf during

i1cal action, rather than through 1.11 attorney, he is considered to be a pro se litigant. This Latin terni literally

catts a.l voeitingon ones ow n bohal:f.                               1.1.40.4 .$41tes„an individual is allowed to

     cut himself. whether as the plaintiff or defendant in a civil lawsuit, oras the ( fendant in a criminal case.

     plore this concept, consider the following pro s definition. (EXHIBIT A)



    2.0th day ofMay 2021



         ndra John)!       andrY,
         Case 18-55697-lrc     Doc 378     Filed 05/20/21 Entered 05/21/21 14:58:02           Desc Main
                                           Document     Page 2 of 5




   UNITED STATES BANKRUPTCY COURT OF GEORGIA NORTHERN DISTRICT
                      CERTIFICATE OF SERVICE


 I, CASSANDRA JOHNSON-LANDRY, Debtor, currently submit, SUBMISSION: APPEARED
(1!AS E SABOTAGE PERTAININ GTO MISREPRESENTATION OF TITLE on the20th Day of May 2021.
Debor Is over the age of 18 years. Debtor requests submitted document be distributed to parties located
on Debt or's Bankruptcy Matrix.




201' Day ot   ay 2021




  assaldra Johnson I aridly,
6 7F, 8150.3 62 1
Case 18-55697-lrc   Doc 378   Filed 05/20/21 Entered 05/21/21 14:58:02   Desc Main
                              Document     Page 3 of 5




                                EXHIBIT A




                                        2
 Case 18-55697-lrc               Doc 378        Filed 05/20/21 Entered 05/21/21 14:58:02                              Desc Main
                                                Document     Page 4 of 5




                                                                                                                          null
                                                                                                 Transmittal Number: 23193284




CSC
Rejection of Se vice:of Process
Return to Sender Information:

Cassandra Johnson Landry null
Attorney at Law
P.O. Box 1275
Grayson, GA 30017


Date:                                       05/13/2021
Party Served:                               Altisource Profolie Solutions
Jurisdiction Serve :                        GA
Method served:                              Regular Mail
Title of Action:                            In Re: Cassandra Johnson Landry
Case/Reference No:                          18-55697-LRC


The service of process received for the party served, as listed above, cannot be forwarded to the intended party for one of
the reasons listed below:

         4   Agent - According to our records and the records at the Secretary of State, or other appropriate state agency,
             we are not the registered agent for the company you are trying to serve or the status of the entity is no longer
             active.
         • Name - Because two or more companies can have very similar names, the name of the company to which
             service of process is directed MUST BE IDENTICAL to the company name on file with the Secretary of State or
             other appropriate state agency.
         • Resignation - CSC has resigned as the registered agent for the company being served.

Or the entity served is inactive at the state for one of the reasons listed below:

         •   Withdrawn
         •   Surrendered
         •   Merged Out of Existence
         •   Dissolved
         • Revoked


It is your responsibility to verify this information with the Secretary of State or other appropriate state agency.

Our customer records are confidential, We do not release any information related to our customers, agent representation
or service of process received. Please contact the Secretary of State or other appropriate agency for more information.

For an electronic copy of the identified service of process, send your request by e-mail to sop@oscglobaLcom. Please
include the transmittal number located in the upper right-hand corner of this letter.




                                       251 Little Falls Drive, Wilmington, Delaware 19808-1674
                                                (888) 6902882 I sop@cscglobal,corn
                           Case 18-55697-lrc          Doc 378        Filed 05/20/21 Entered 05/21/21 14:58:02                             Desc Main
                                                                     Document     Page 5 of 5
 51211/2021                                          Re-     Riq.::PON 0   SC FRArSMtii      UMBER 2392f4.              7:th),ornaii.cx    Grna4




                                                                  From: Cassandra Landry [cjiandry19_61@amail cam]
                                                                  Sent: 5120/2021 10:01 AM
                                                                  To: soppcseglobal.com
                                                                  Subject Re: CORRECTION OF CSC TRANSMITTAL NUMBER 2319284
               Ste .

               Srtoogod                                          Correction
                                                                 Transmittal Nurnber
                                                                 23193284

                                                                 Sent from my Phone

                                                                 > On May 20 2021, at 9:57 AM Cassandra Landry <cilandry19                     mail.corn> wrote:

      Mret                                                       > DEBTOR. CASSANDRA JOHNSON-ILANDRY contacted CSC on 5.20.21 at approximately 9: 50am CS1

                                                                 > FOR: Altisource Profolio Solutions

                                                                 > I spoke with Joesphi CSC Litigator to investigate the area. Informed he did not know where and why the -
                                                                 misrepresentation of my career title and I am NOT an attorney at law. Letter was dated for 5.13.21 and Re‘
      Handou
                                                                 > Cassandra Johnson-Landry
              CaSsan
                                                                 > 6788603621

                                                                 >•Sent from my iPhone




                                                                 NOTICE: This e-mail and any attachments is intended only for use by the addressee(s) named herein and
                                                                 notified that any dissemination, distribution or copying of this email, and any attachments thereto, is strictly
                                                                 original copy and any copy of any e-mail, and any printout.

                                                                 ref:_00DoOLOwE 5002KyNKSJ:ref
                                                                 <Rejection.pdf>
https://mail,google.cornimailiwtMsent1WhctKKWx0zVSZURqiexHXGvLcgINIMsxs1-BPvhWsXWMnSIXFUzVpfzNjC   FmMXwG,It XnsC1                                                            1/1
